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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       PINE BLUFF DIVISION

JANIE R. WAINWIGHT                                                 PLAINTIFF

VS.                       CASE NO: 5:12-CV-334-JLH

DAVIS LIFE CARE CENTER                                          DEFENDANT

 MOTION FOR EXTENSION OF TIME TO FILE RESPONSE AND
BRIEF TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Comes now the Plaintiff and moves this Honorable Court for an

extension of time to file her response and brief to the Defendants’ Motion

for Summary Judgment and as the basis for said motion states:

      1.     That Defendant filed a Motion for Summary Judgment

on or about November 27, 2013.

      2.     That Plaintiff’s response and brief are due to be filed in this

matter on December 18, 2013.

      3.     That counsel needs additional time to complete and file said

response and brief due to a number of factors since the filing of the

Defendants’ Motion for Summary Judgment, including but not limited to the

preparation of other appellate briefs with the Arkansas Supreme Court and

federal court, scheduled court appearances and trials, illness of counsel’s

paralegal, and the recent inclement winter storm in the Little Rock

metropolitan area.
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        4.    That the undersigned is a solo practitioner and this does not

have the assistance of other in-house counsel to minimize the workload.

        5.    The undersigned will not be able to meet the deadline due to

other previously scheduled state court appearances, preparation of scheduled

criminal trials, other briefs due in the state appellate courts and federal court,

of which these dates are running concurrent as a result of the aforementioned

in paragraph three herein.

        6.    The undersigned is very grateful and appreciates the Court for

understanding the present conflicts and inclement weather condition.

        7.    It is expected that the undersigned will be able to complete and

file said response and brief with the extension of an additional twenty (20)

days.

        8.    That movant makes this motion in good faith and is not made

for the purposes of any delay or other illegitimate purposes.

        9.    That this motion is in the best interest of justice and will not

affect the rights of the parties herein.

        10.   That on this date, due to the inclement weather, efforts have

been unsuccessful in contacting opposing counsel prior to filing this motion .




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          WHEREFORE, the undersigned respectfully requests this Court

to grant this motion for an extension of time of twenty (20) days or until

January 7, 2014, in which to complete and file Plaintiff’s response and brief

and for all other proper and just relief.

                                              Respectfully submitted,


                                              /s/Teresa Bloodman
                                              Teresa Bloodman #2005055
                                              Attorney for Plaintiff
                                              P.O. Box 13641
                                              Maumelle, AR 72113
                                              (501) 373-8223 Office
                                              teresabloodman@yahoo.com



                       CERTIFICATE OF SERVICE

       I, Teresa Bloodman, do hereby certify that a true and correct copy of
the foregoing pleading was electronically filed, this 6th day of December,
2013, with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to:

Mr. Spence Robinson, Esq.
Ramsay, Bridgforth, Robinson and Raley LLP
P.O. Box 8509
Pine Bluff, AR 71611-8509
spencerrobinson@ramsaylaw.com




                                                    /s/Teresa Bloodman
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